                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION - DETROIT


 In re:

 BART A. CHARLICK and                                        Case No. 06-55675
 DONNA M. CHARLICK,                                          Chapter 13
                                                             Hon. Walter Shapero
             Debtors.
 _____________________________________/

 BART A. CHARLICK and                                        Adv. Pro. No. 10-05473
 DONNA M. CHARLICK,

                 Plaintiffs,

 v.

 COMMUNITY CHOICE CREDIT UNION,
 f/k/a RESEARCH FEDERAL CREDIT UNION,

             Defendants.
 _____________________________________/


 OPINION GRANTING DEFENDANT'S MOTION FOR SUMMARY JUDGMENT
           AND DENYING RELATED PLAN MODIFICATION

          In this post-confirmation adversary proceeding, Plaintiffs seek a ruling that the
 claim of the senior mortgagee exceeds the value of the residence and therefore Plaintiffs
 can proceed to "strip" Defendant's junior lien. Plaintiffs have also filed a related plan
 modification, seeking to effectuate the lien strip if available. Plaintiffs and Defendant
 each filed Motions for Summary Judgment. For the reasons set forth in this Opinion, the
 Court grants Defendant's Motion for Summary Judgment and denies the plan
 modification.
                                       I. Jurisdiction
          This is a core proceeding identified in 28 U.S.C. § 157(b)(2)(K) for which the
 Court has jurisdiction pursuant to 28 U.S.C. §§ 157(a) and 1334(b).




10-05473-wsd       Doc 34      Filed 03/04/11   Entered 03/07/11 08:31:16      Page 1 of 8
                      II. General Facts and Procedural Background
         Bart and Donna Charlick ("Debtors") filed their chapter 13 bankruptcy petition,
 Chapter 13 plan, and schedules on October 27, 2006. In the liquidation analysis and
 statement of value of encumbered property part of the Plan, Debtors' identified their
 personal residence as the real property located at 1107 Clyde in Highland, Michigan and
 stated its fair market value to be $190,520.00. Not only did their Plan reflect that
 valuation, but so did Debtors' Summary of Schedules, Schedule A, and Schedule D. Two
 mortgagees then held liens on Debtors' residence, to wit: Midwest Loan Services ("Senior
 Lienholder") and Research Federal Credit Union, n/k/a Community Choice Credit Union
 ("Junior Lienholder"). Debtors Plan proposed treating the claims of both mortgagees as
 Class 2 Continuing Claims, stating that they were “to be paid direct as account is
 current.” On November 13, 2006, Debtors amended their Summary of Schedules and
 Schedule D for reasons not relevant here, those sworn amendments continued to state the
 value of the residence as being $190,520.
        The Senior Lienholder and Junior Lienholder timely filed Proofs of Claim on
 December 21, 2006 and December 22, 2006 respectively. The Senior Lienholder’s filed
 mortgage claim was for $190,165.20 (which was less than the $191,817 stated on
 Debtors' original and amended Schedule D as the claim amount), but relevant here, was
 slightly less than the $190,520 property value asserted by Debtors. The Junior
 Lienholder’s filed claim was for $42,358.
        The Court entered an Order Confirming Plan on February 15, 2007. Nothing in
 the originally filed Plan germane to the residence or the indicated mortgagees changed
 upon confirmation. Paragraph II(F)(1) of the confirmed Plan is noteworthy, though, as it
 addressed "proofs of claim filed at variance with the Plan[;]" by saying: "[T]he proof of
 claim shall supersede the Plan as to the claim amount, . . . ."
        Debtors' chapter 13 bankruptcy then proceeded for approximately 38 months until
 March 24, 2010, when Debtors terminated their former attorney and employed new
 counsel. Some two months or so later, Debtors filed (a) a Post-Confirmation Plan
 Modification proposing cessation of direct payments to Junior Lienholder and the
 stripping of the Junior Lienholder's lien; and (b) Amended Schedules A and D stating the
 value of the residence to have been $185,000. Consistent with the proposed plan



                                           -2-
10-05473-wsd      Doc 34      Filed 03/04/11 Entered 03/07/11 08:31:16        Page 2 of 8
 modification and amended schedules, Debtors contemporaneously filed this adversary
 proceeding seeking to strip the junior lien. Debtors' position is that, notwithstanding what
 preceded these new filings, their residence "always" had a value of $185,000.00, and that,
 consequently, a "lien strip" was appropriate all along and would have been attempted
 much earlier if Debtors had been represented from the beginning of their bankruptcy by
 their current counsel.
            As proof of the value of the residence, Debtors present as Exhibit 6 to their
 Motion for Summary Judgment an appraisal dated April 22, 2010 (with an “effective date
 of October 27, 2006” the bankruptcy filing date) valuing the residence at $185,000.00.1
            The Junior Lienholder timely objected to the proposed Plan Modification and
 filed an answer in this adversary proceeding.                 Junior Lienholder points to Debtors'
 pleadings up to and including the confirmation of their Plan, and argues that (1) Debtors
 could not have "stripped" its lien prior to confirmation as there was some, albeit small,
 equity, and therefore a lien strip was not available; (2) Debtors are precluded from a “lien
 strip” action given the res judicata effect of their confirmed plan; and (3) a subsequent
 reclassification of its claim from a Class Two Continuing Claim to a Class Eight General
 Unsecured Claim, as proposed in the Plan Modification, is also not permitted.
            Debtors and Junior Lienholder subsequently filed these Motions for Summary
 Judgment presently before the Court. Given their mutual dependence, the indicated
 proposed plan modification has proceeded in tandem with this adversary proceeding and
 it is also the subject of this opinion.
                                              III. Discussion
                                     Summary Judgment Standard
            Under Rule 56(c) of the Federal Rules of Civil Procedure, summary
            judgment may be granted “if the pleadings, depositions, answers to
            interrogatories, and admissions on file, together with the affidavits, if any,
            show that there is no genuine issue as to any material fact and that the
            moving party is entitled to judgment as a matter of law.” “A fact is
            ‘material’ and precludes grant of summary judgment if proof of that fact
            would have [the] effect of establishing or refuting one of the essential
            elements of the cause of action or defense asserted by the parties, and
            would necessarily affect [the] application of appropriate principle[s] of
            law to the rights and obligations of the parties.” The court must view the

 1
     Another figure in that same appraisal using a “cost approach” was $190,200.


                                                 -3-
10-05473-wsd           Doc 34       Filed 03/04/11 Entered 03/07/11 08:31:16            Page 3 of 8
        evidence in a light most favorable to the nonmovant as well as draw all
        reasonable inferences in the nonmovant’s favor.

 United States v. Certain Real Prop. 800 F.Supp. 547, 549-50 (E.D. Mich. 1992). The
 moving party bears the initial burden of demonstrating the absence of a genuine issue of
 material fact. See Celotex Corp. v. Catrett, 447 U.S. 317, 323-24 (1986); Leary v.
 Daeschner, 349 F.3d 888, 897 (6th Cir. 2003). Once the moving party satisfies its burden,
 the non-moving party must then “come forward with ‘specific facts showing that there is
 a genuine issue for trial. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574,
 587 (1986) (quoting Fed. R. Civ. P. 56(e)). It is also to be noted that “[t]he fact that both
 parties make motions for summary judgment, and each contends in support of his
 respective motion that no genuine issue of fact exists, does not require the Court to rule
 that no fact issue exists.” Begnaud v. White, 170 F.2d 323, 327 (6th Cir. 1948). But, “[a]t
 the same time, ‘cross motions for summary judgment do authorize the court to assume
 that there is no evidence which needs to be considered other than that which has been
 filed by the parties.’” Greer v. United States, 207 F.3d 322, 326 (6th Cir. 2000) (quoting
 Harrison Western Corp. v. Gulf Oil Co., 662 F.2d 690, 692 (10th Cir. 1981)).
      A. Section 1327 and Res Judicata Effect of the Confirmed Chapter 13 Plan
        As noted, Junior Lienholder argues that Debtors are precluded from raising this
 “lien strip” issue given the res judicata effect of their confirmed plan on the value of the
 property. Debtors plan valued the property at $190,520 (which given the slightly lower
 filed first mortgage lien claim precluded a lien strip) and the Debtors’ bankruptcy case
 progressed for some 38 months before Debtors’ new counsel filed the Post-Confirmation
 Plan Modification proposing to strip the Junior Lienholder’s lien and amended their
 Schedule A and Schedule D to show the value of their residence as $185,000.
        11 U.S.C. § 1327(a) states that the “provisions of a confirmed plan bind the
 debtor and each creditor, whether or not the claim of such creditor is provided for by the
 plan, and whether or not such creditor has objected to, has accepted, or has rejected the
 plan.” “[V]aluation of a secured claim is adjudicated by the order of confirmation and a
 plan is considered res judicata as to claim determinations.” Massachusetts Housing
 Finance Agency v. Evora, 255 B.R. 336, 343 (D. Mass. 2000), see also Cline v. Welch,
 1998 U.S. App. LEXIS 26564, No. 97-5080, 1998 WL 773999 (6th Cir. Oct. 11, 1998



                                           -4-
10-05473-wsd      Doc 34      Filed 03/04/11 Entered 03/07/11 08:31:16             Page 4 of 8
 (unpublished opinion) (binding effect extends to any issue necessarily determined by
 confirmation order); Ford Motor Credit Co. v. Stevens, 130 F.3d 1027, 1029 (11th Cir.
 1997); United States v. Richman, 124 F.3d 1201, 1209 (10th Cir. 1997); Chrysler Fin.
 Corp. v. Nolan, 234 B.R. 390, 396 (M.D. Tenn. 1999).
         Here, the value of the property was determined to be $190,520 at the time the
 Chapter 13 plan was confirmed and the confirmed plan is res judicata as to the issue of
 the value of the property; thus, Debtors are precluded from re-litigating this issue. See In
 re Cruz, 253 B.R. 638 (Bankr. D. N.J. 2000); In re Rutt, 2010 Bankr. LEXIS 3136, No.
 07-13448 (Bankr. D. Colo. Sept. 10, 2010) (unpublished opinion). Debtors could have
 disputed the value of the property pre-confirmation and sought to “strip” Junior
 Leinholder’s claim prior to confirmation if such was determined to be appropriate at that
 time. “An order confirming a Chapter 13 plan is res judicata as to all issues which were
 or could have been decided at the confirmation hearing.” Salt Creek Valley Bank v.
 Wellman (In re Wellman), 322 B.R. 298, 301 (B.A.P. 6th Cir. 2004). The parties are
 bound by the terms of the confirmed plan, including the values assigned to collateral and
 the amount of payment to be received. Id. Debtors’ prior counsel’s failure to litigate the
 value of the property and failure to attempt a lien strip pre-confirmation cannot be
 remedied by this post-confirmation second bite at the apple. Evora, 255 B.R. at 343
 (“The Code does not provide a second bite at the apple”).
         Given the very slight difference between the amount of the first lien claim and the
 indicated value of the property at the time of confirmation in this case, in light of the
 inexactitude of real estate valuations then (and now), one can wonder why a different
 stance might not, or could not, have been taken at that time as might have been able to
 produce or justify a lien strip. There are a number of possible explanations that need not
 be elaborated upon here. For whatever reasons, a lien strip did not occur and the res
 judicata principle needs to be applied consistently in this as in any other case. Here, the
 Debtor is in essence arguing that the valuation was not really correct at the time of
 confirmation2, as opposed to a situation where, let's say, the valuation was not objected to
 at the time of confirmation, i.e.: was somewhat larger than the first mortgage balance


 2
  No argument is made here, nor likely could be, given the circumstances and the passage of time, that Rule
 60(b)(1) for instance might afford a basis for relief in this situation.


                                              -5-
10-05473-wsd         Doc 34      Filed 03/04/11 Entered 03/07/11 08:31:16                     Page 5 of 8
 (thus precluding a lien strip), but during the period of the plan that value decreased to the
 point where it was less than the first mortgage balance at whatever might be the
 appropriate time. Would that be a different situation justifying a plan modification and
 an accompanying lien strip? The answer is likely no, given the foregoing reasoning as
 well as the post confirmation plan modification limitations of the statute, hereinafter
 discussed. The Court finds there are no issues of material fact in this, a case which
 therefore can be disposed of as a matter of law on the forgoing basis. Therefore, Junior
 Lienholder’s Motion for Summary Judgment is granted.
         B. Post-Confirmation Modification and Reclassification of the Claim
        Junior Lienholder further argues that a post-confirmation modification seeking
 reclassification of its claim from a Class Two Continuing Claim to a Class Eight General
 Unsecured Claim is legally unavailable.
        It would appear that the granting of Defendant's summary judgment motion would
 essentially moot the proposed plan modification, given that the latter was apparently filed
 only for the purpose of effectuating the now denied lien strip (particularly given the
 Court's Guideline 12, which, absent consent, requires that an adversary proceeding be
 filed to strip a junior lien in a Chapter 13 case). That notwithstanding, is there an
 independent statutory basis for obtaining a lien strip by way of a post-confirmation plan
 modification?
        11 U.S.C. § 1329(a), which governs post-confirmation modifications of Chapter
 13 plans, provides, in pertinent part:
        (a) At any time after confirmation of the plan but before completion of
        payments under such plan, the plan may be modified, upon request of the
        debtor, the trustee, or the holder of an allowed unsecured claim to –

                 (1) increase or decease the amount of payments on claims of a
                 particular class provided for by the plan;

                 (2) extend or reduce the time for such payments;

                 (3) alter the amount of the distribution to a creditor whose claim is
                 provided for by the plan to the extent necessary to take account of
                 any payment of such claim other than under the plan . . .

        Several Courts have addressed the scope of what can be accomplished by a post-



                                           -6-
10-05473-wsd       Doc 34     Filed 03/04/11 Entered 03/07/11 08:31:16             Page 6 of 8
 confirmation modification with respect to a change in the treatment of secured creditors.
 See eg. In re Adkins, 425 F.3d 296 (6th Cir. 2005); In re Nolan, 232 F.3d 528 (6th Cir.
 2000); In re Disney, 386 B.R. 292 (Bankr. D. Colo. 2008); In re Adams, 270 B.R. 263
 (Bankr. N.D. Ill. 2001); In re Cruz, 253 B.R. 638 (Bankr. D. N.J. 2000); and In re Jock,
 95 B.R. 75 (Bankr. M.D. Tenn. 1989).
        The Court is persuaded by the analysis in Nolan. In that case, the debtor filed a
 motion to modify her confirmed plan to surrender a vehicle which she had treated as
 collateral for a secured claim in her plan, and which she valued at an amount less than the
 debt it secured. She sought to reclassify the deficiency resulting from the sale of the
 surrendered vehicle as an unsecured claim. The secured creditor objected to that
 modification, claiming that it was entitled to the amount of the secured claim as it was
 fixed at the time the plan was confirmed. The Sixth Circuit agreed with the secured
 creditor, concluding that the debtor was required to pay the secured creditor the amount
 of the secured claim as of the date of confirmation. That Court stated that § 1329(a)
 “only affords the debtor a right to request alteration of the amount or timing of specific
 payments . . . . ‘This section does not state that the plan may be modified to increase or
 reduce the amount of claims. This is of significance in relation to secured claims.’”
 Nolan, 232 F.3d at 534 (citations omitted).
        The Debtors cite In re Frost, 96 B.R. 804 (S.D. Ohio 1989) for the proposition
 that a debtor may modify a Chapter 13 Plan and that the order confirming plan is not
 binding on all parties. However, that case was essentially overruled by the Sixth Circuit
 in Nolan.
        Despite the fact that Nolan did not involve a debtor attempting to strip a lien post-
 confirmation, this Court finds its rationale and reasoning to be applicable to this case.
 Thus, this Court finds § 1329(a) does not permit the Debtors to change the classification
 of the Junior Lienholder’s claim from secured to unsecured.
                                       IV. Conclusion
        For the foregoing reasons, (a) Junior Lienholder’s Motion for Summary Judgment
 is granted and Debtors’ Motion for Summary Judgment is denied; and (b) Debtors’ Post-
 Confirmation Plan Modification is denied. Junior Lienholder shall prepare and present
 an appropriate order.



                                          -7-
10-05473-wsd      Doc 34     Filed 03/04/11 Entered 03/07/11 08:31:16              Page 7 of 8
                                     .

 Signed on March 04, 2011
                                  ____ __/s/ Walter Shapero_    ___
                                     Walter Shapero
                                     United States Bankruptcy Judge




                                     -8-
10-05473-wsd   Doc 34   Filed 03/04/11 Entered 03/07/11 08:31:16   Page 8 of 8
